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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


 WINN-DIXIE STORES, INC.,


        Plaintiff,

 v.                                                          Case No: 3:15-cv-1143-J-39PDB

 SOUTHEAST MILK, INC., et al.,


      Defendants.
 ___________________________________/

                          SUMMARY JUDGMENT NOTICE

        Motion(s) for summary judgment pursuant to Rule 56, Federal Rules of Civil

 Procedure, have been filed in this case. Unless the Court notifies the parties otherwise,

 there will not be a hearing on these motion(s); instead, the Court will decide the motion(s)

 on the basis of the motion(s), responses, briefs or legal memoranda, and evidentiary

 materials filed by the parties. Unless otherwise specifically ordered by the Court, any

 response to these motion(s), as well as all supporting evidentiary materials (counter-

 affidavits, depositions, exhibits, etc.) must be filed with the Clerk of this Court in

 accordance with the Federal Rules of Civil Procedure.

        The following explanatory admonitions are included here for the benefit of pro se

 parties (i.e., parties not represented by an attorney) who oppose the summary judgment

 motion(s). In addition to the above paragraph, you are also advised that if the Court

 grants the motion(s) for summary judgment, such would be a final decision of the Court

 in favor of the party filing the motion(s) (“the movant”). As a result of such final decision,
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 there would be no trial or other proceedings in this case, and you would likely be

 precluded from later litigating this matter or any related matters. Therefore, you are

 hereby further advised: (1) failing to respond to these motion(s) will indicate that the

 motion(s) are not opposed; (2) all material facts asserted by the movant in the motion(s)

 will be considered to be admitted by you unless controverted by proper evidentiary

 materials (counter-affidavits, depositions, exhibits, etc.) filed by you; and (3) you may not

 rely solely on the allegations of the issue pleadings (e.g., complaint, answer, etc.) in

 opposing these motion(s). See Griffith v. Wainwright, 772 F.2d 822,825 (11th Cir. 1985).



                                                   FOR THE COURT



 Date: February 19, 2019

                                                   BY: P. Morawski, Deputy Clerk




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